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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION


NUVASIVE, INC.,                                )
                                               )
         Plaintiff,                            )
v.                                             )       Civil Case No. 2:19-cv-00698-SPC-NPM
                                               )
CHRISTOPHER LEDUFF,                            )
Gregory Soufleris, and                         )
Absolute Medical Systems, LLC                  )
                                               )
        Defendants.                            )
                                               )


                      AMENDED MOTION FOR ADMISSION PRO HAC VICE
                      AND WRITTEN DESIGNATION AND CONSENT TO ACT


        The undersigned, pursuant to Local Rule 2.02, submits this Amended Motion for

Admission Pro Hac Vice and Written Designation and Consent to Act and states as

follows:

        1.      The undersigned, a member in good standing of the United States District

Court, Northern District of Georgia, designates Christopher Y. Mills, Esq., of the law firm

of Busch, Slipakoff, Mills & Slomka LLC located at 319 Clematis Street, Suite 109 West

Palm Beach, Florida 33401, as the resident attorney upon whose behalf he shall act in the

above styled case.

        2.      All notices and papers may be served on Chris Mills, Esq., who will remain

responsible for the progress of the case, including trial in the event of default of Bryan E.

Busch.




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            Dated: October 24, 2019


                                  /s/Bryan Busch
                                  Bryan E. Busch
                                  Georgia Bar No. 006055
                                  BUSCH, SLIPAKOFF, MILLS & SLOMKA, LLC
                                  2859 Paces Ferry Road SE, Suite 1700 Atlanta, GA 30339
                                  (404) 800-4062
                                  bb@bsms.law
                                  Attorneys for Defendants


                                    CONSENT TO ACT

      Christopher Y. Mills, Esq, a member in good standing of the Middle District of Florida,

hereby consents to Bryan E. Busch, Esq., acting on his behalf.




                                   /s/ Christopher Mills Chris Mills, Esq.
                                   Florida Bar No. 72207
                                   BUSCH SLIPAKOFF MILLS & SLOMKA, LLC
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                                   Florida 33401 (561) 408-0019
                                   cm@bsms.law
                                   Attorneys for Defendants




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                             RULE 3.01(g) CERTIFICATION

      Pursuant to Local Rule 3.01(g), Local Rules, United States District Court for the Middle

District of Florida, counsel for the Plaintiff confirmed via telephone that he does not oppose

the relief in this Motion.




                                   /s/ Christopher Mills Chris Mills, Esq.
                                   Florida Bar No. 72207
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                                   319 Clematis Street, Suite 109 West Palm Beach,
                                   Florida 33401 (561) 408-0019
                                   cm@bsms.law
                                   Attorneys for Defendants


                                   /s/Bryan Busch
                                   Bryan E. Busch
                                   Georgia Bar No. 006055
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                                   Attorneys for Defendants




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of October, 2019, I electronically filed the foregoing
with the Clerk of the Court via the CM/ECF system, which will send a notice of electronic filing to all
counsel of record and CM/ECF participants.

       Diana N. Evans, Esquire
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       Tampa, Florida 33602
       dnevans@Bradley.Com
       Attorney for Plaintiff

       Christopher W. Cardwell, Esquire
       Pro Hac Vice
       Gullett, Sanford, Robinson & Martin, PLLC
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       Nashville, TN 37201
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       Attorney for Plaintiff



                                           /s/ Chris Mills
                                           Chris Mills, Esq.
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                                           Attorneys for Defendants




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